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 1                                              THE HONORABLE FRANKLIN D. BURGESS
 2

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 6

 7                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 8                                     AT TACOMA
 9
      UNITED STATES OF AMERICA
10
                           Plaintiff,                     CASE NO. CR05-5475FDB
11
             v.                                           STIPULATED MOTION AND
12                                                        ORDER FOR CONTINUANCE
                                                          OF PRETRIAL HEARING &
13    CHAD SHAW,                                          TRIAL DATE
      JAMIE ANDERSON, and
14    KHOUANHEVANE BANIENSYNOUANE,

15                         Defendants.

16
            The defendants herein, Jamie Anderson, by and through his counsel, Zenon P.
17
     Olbertz; Chad Shaw, by and through his counsel, David A. Shaw; Khouanhevane
18
     Baniensynouane, by and through his counsel, Charles A. Johnston; and the
19
     Government, by and through its counsel, Ronald J. Friedman, Assistant United States
20
     Attorney, hereby move that the trial presently scheduled for August 29, 2005, be
21
     vacated, and that the trial be rescheduled to some time in October or November, 2005;
22
     and that the pretrial hearing date presently scheduled for August 17, 2005, be vacated
23
     and that the pretrial hearing be rescheduled to a date to be determined by the Court.
24

25
     STIPULATED MOTION AND ORDER FOR                                     LAW OFFICE OF

     CONTINUANCE OF PRETRIAL HEARING &                          ZENON PETER OLBERTZ
                                                             1008 SOUTH YAKIMA AVENUE, SUITE 302
     TRIAL DATE - 1                                               TACOMA, WASHINGTON 98405
                                                                         (253) 272-9967
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 1          The above request for continuance is being made as additional time is necessary
 2
     to review discovery and prepare this matter for trial. All defendants are willing to
 3
     waive their right to a speedy trial.
 4
            The parties believe that the ends of justice would be served by a continuance of
 5

 6 the trial and pretrial hearing dates in this matter.

 7          DATED this 16th day of August, 2005.
 8
                                                                       /s/
 9                                                        By: _________________________
                                                             Zenon P. Olbertz, WSB #6080
10                                                           Attorney for Jamie Anderson
11
                                                                Telephonically Approved:
12                                                              08/15/05
                                                          By: ___________________________
13                                                           David A. Shaw, WSB #8788
14                                                           Attorney for Chad Shaw

15                                                              Telephonically Approved:
                                                                08/16/05
16
                                                          By: ___________________________
17                                                           Charles A. Johnston, WSB #9058
                                                             Attorney for Khouanhevane
18                                                            Baniensynouane
19
                                                                Telephonically Approved:
20                                                              08/15/05

21                                                        By: _________________________
                                                                     Ronald J. Friedman
22
                                                              Assistant U.S. Attorney
23

24

25
     STIPULATED MOTION AND ORDER FOR                                        LAW OFFICE OF

     CONTINUANCE OF PRETRIAL HEARING &                             ZENON PETER OLBERTZ
                                                                1008 SOUTH YAKIMA AVENUE, SUITE 302
     TRIAL DATE - 2                                                  TACOMA, WASHINGTON 98405
                                                                            (253) 272-9967
       Case 3:05-cr-05475-RBL        Document 27      Filed 08/16/05      Page 3 of 5




 1                                            ORDER
 2
            Before this court is a stipulated motion for continuance of the trial and pretrial
 3
     hearing dates presently scheduled for August 17th, 2005 and August 29th, 2005. The
 4
     court finds, after a consideration of all relevant information and the circumstances of
 5

 6 this case, that without this continuance the defendants will be prejudiced and the ability

 7 to properly prepare for trial would be impaired. Failure to grant a continuance under

 8
     these circumstances would result in a miscarriage of justice. The ends of justice would
 9
     best be served by granting of the motion for continuance. The ends of justice outweigh
10

11 the best interests of the public and the defendants in a speedy trial.

12        For these reasons, the court finds the stipulated motion for continuance should be
13 granted. The trial date is hereby continued from August 29, 2005 to October 11, 2005.

14
     The resulting period of delay from August 29, 2005, up to and including the new trial
15
     date of October 11, 2005, is hereby excluded for speedy trial purposes under 18 U.S.C.
16

17 § 3161(h)(8)(A) and (B). The pretrial hearing scheduled for August 17, 2005 is stricken

18 and is rescheduled to September 30, 2005.

19
            IT IS SO ORDERED.
20
            DONE this 16th day of August, 2005.
21
                                                     /s/ Franklin D Burgess
22
                                                FRANKLIN D. BURGESS
23                                              United States District Judge

24

25
     STIPULATED MOTION AND ORDER FOR                                       LAW OFFICE OF

     CONTINUANCE OF PRETRIAL HEARING &                            ZENON PETER OLBERTZ
                                                               1008 SOUTH YAKIMA AVENUE, SUITE 302
     TRIAL DATE - 3                                                 TACOMA, WASHINGTON 98405
                                                                           (253) 272-9967
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 1

 2
               /s/
 3 By: _________________________
       Zenon P. Olbertz, WSB #6080
 4     Attorney for Jamie Anderson
 5
         Telephonically Approved:
 6       08/15/05
   By: ___________________________
 7    David A. Shaw, WSB #8788
 8    Attorney for Chad Shaw

 9       Telephonically Approved:
         08/16/05
10 By: ___________________________

11    Charles A. Johnston, WSB #9058
      Attorney for Khouanhevane Baniensynouane
12
          Telephonically Approved:
13        08/15/05
14
   By: _________________________
15            Ronald J. Friedman
       Assistant U.S. Attorney
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25
     STIPULATED MOTION AND ORDER FOR                             LAW OFFICE OF

     CONTINUANCE OF PRETRIAL HEARING &                  ZENON PETER OLBERTZ
                                                     1008 SOUTH YAKIMA AVENUE, SUITE 302
     TRIAL DATE - 4                                       TACOMA, WASHINGTON 98405
                                                                 (253) 272-9967
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 1                                   CERTIFICATE OF SERVICE
 2          I hereby certify that on August 16th, 2005, I electronically filed the foregoing
 3
     Stipulated Motion and Order for Continuance of Trial Date and Pretrial Hearing Date
 4
     with the Clerk of the Court using the CM/ECF system which will send notification of
 5
     such filing to the following:
 6

 7          Ronald J. Friedman
            Assistant United States Attorney
 8
            700 Stewart Street
            Suite 5220
            Seattle, WA 98101-1271
 9
            David A. Shaw
10          WILLIAMS KASTNER & GIBBS
            601 Union Street
11          Suite 4100
            Seattle, WA 98111-3926
12
            Charles A. Johnston
13          Attorney at Law
            202 E. 34th
14          Tacoma, WA 98404
15          I hereby certify that on August 16th, 2005, I mailed the Stipulated Motion and
16
     Order for Continuance of Trial Date and Pretrial Hearing Date to the following:
17
            Jamie Anderson
18          c/o Thurston County Corrections Facility
            2000 Lakeridge Drive SW
19
            Olympia, WA 98502
20
                   DATED this 16th day of August, 2005.
21
                                                                     /s/
22                                                            Sarah M. Heckman
                                                              Legal Assistant
23

24

25
     STIPULATED MOTION AND ORDER FOR                                       LAW OFFICE OF

     CONTINUANCE OF PRETRIAL HEARING &                           ZENON PETER OLBERTZ
                                                              1008 SOUTH YAKIMA AVENUE, SUITE 302
     TRIAL DATE - 5                                                TACOMA, WASHINGTON 98405
                                                                          (253) 272-9967
